Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 1 of 29




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No. 11-cv-02285-NYW

 CENTER FOR LEGAL ADVOCACY, d/b/a DISABILITY LAW COLORADO,
        Plaintiff,
 v.
 REGGIE BICHA, in his official capacity as Executive Director of the Colorado Department of
 Human Services; and
 JILL MARSHALL, in her official capacity as Superintendent of the Colorado Mental Health
 Institute at Pueblo,

        Defendants.

                         MEMORANDUM OPINION AND ORDER

 Magistrate Judge Nina Y. Wang

        This matter comes before the court on Plaintiff Center for Legal Advocacy d/b/a Disability

 Law Colorado’s (“DLC” or “Plaintiff”) Motion for Summary Judgment to Enforce Settlement

 (“Motion” or “Motion for Summary Judgment”) [#96] and Defendants Reggie Bicha and Jill

 Marshall’s (collectively, “Defendants” or “Department”) Motion for Summary Judgment (or

 “Motion”) [#97]. The Motions are before the undersigned pursuant to the Order of Reference

 dated February 21, 2012 [#44], the Order of Reassignment dated November 19, 2015 [#58], 28

 U.S.C. § 636(c), Fed. R. Civ. P. 73, and D.C.COLO.LCivR 72.2. The court retained ancillary

 jurisdiction to consider the issues raised in the Parties’ Motions for Summary Judgment, because

 the Parties’ consented to this court retaining jurisdiction to enforce the terms of the 2016

 Settlement Agreement and the court fully incorporated the terms of the 2016 Settlement

 Agreement in its Order of Dismissal under Rule 41(a)(2) of the Federal Rules of Civil Procedure.

 See Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 381 (1994). Accordingly, having

 reviewed the Motions and associated briefing, and the evidence and comments offered at the
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 2 of 29




 September 28, 2018 Motions Hearing, the court GRANTS IN PART and DENIES IN PART

 Plaintiff’s Motion for Summary Judgment; DENIES Defendants’ Motion for Summary Judgment;

 and SETS this action for a Status Conference.

                                         BACKGROUND

        The court draws the following facts from the record before it, including the Parties’ Joint

 Statement of Undisputed Facts. [#104].

        1.    The Department is required to provide competency evaluations for any defendant

 when the issue of competency to stand trial is raised. See Colo. Rev. Stat. § 16-8.5-101, et seq.

        2.    The Department is required to provide restoration services for any defendant found by

 the court to be incompetent to proceed. See id. at §§ 16-8.5-101, et seq., 27-60-105.

        3.    In 2007, there were contempt citations issued in Denver District Court related to

 pretrial detainees waiting extended periods of time in Denver County Jail. See, e.g., Am. Contempt

 Citation, People v. Zuniga, No. 06CR999 (Colo. Dist. Ct. Jan. 3, 2007); Contempt Citation, People

 v. Kirkwood, No. 06CR5797 (Colo. Dist. Ct. Jan. 3, 2007); Am. Contempt Citation, People v. Sims,

 No. 05CR2272 (Colo. Dist. Ct. Jan. 3, 2007) (collectively [#105-1]). In 2006, Denver District

 Court Judge Egelhoff appointed special counsel to litigate contempt citations against the Executive

 Director of the Colorado Department of Human Services and the Superintendent of the Colorado

 Mental Health Institute at Pueblo (“CMHIP”). In those instances, pretrial detainees were sitting

 in jail for many months awaiting transport to CMHIP for competency evaluations. The contempt

 citations and orders were resolved through a settlement agreement. The agreement required

 CMHIP to offer admission to pretrial detainees within 28 days of a court order requiring in-patient

 competency evaluations or restorative treatment, and to maintain a quarterly average of 24 days

 for both categories.



                                                  2
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 3 of 29




        4.    Some period after that settlement agreement expired, the Department and CMHIP

 did not transport pretrial detainees to CMHIP for competency evaluation or restoration treatment

 within 28 days after they were ready for admission.

        5.    Plaintiff initially commenced this matter on August 31, 2011.              [#1].   The

 complaint alleged that Defendants failed to timely admit pretrial detainees in jails across Colorado

 into CMHIP, the State’s only forensic mental health hospital charged with providing court-ordered

 evaluations and accepting custody of pretrial detainees for restorative treatment, for competency

 evaluations, and restorative treatment for those determined to be incompetent to stand trial. Id.

 The complaint alleged this failure created unconstitutional delays to provide competency

 evaluations and treatment for up to 80 pretrial detainees for as long as six months.   Id.

        6.    In 2012, the parties entered into settlement negotiations to resolve issues related to

 the length of the time individuals were waiting to receive competency evaluations and restoration

 services.

        7.    After settlement negotiations mediated by former Magistrate Judge Boyd N. Boland,

 and post-mediation negotiations, the parties reached the 2012 Agreement resolving the case.

        8.    The 2012 Agreement put into place timeframes for the Department to: 1) complete

 outpatient (in-jail) competency evaluations; 2) offer admission for inpatient competency

 evaluations; and 3) offer admission for inpatient restoration services. [#51-1; #105-15].

        9.    The 2012 Agreement included a provision called Special Circumstances, which

 “recognizes that to some extent the Department’s ability to perform its statutory obligations and

 its obligations under [the 2012 Agreement] is based on factors beyond the Department’s control.”

        10.   The 2012 Agreement defines Departmental Special Circumstances (“DSC”) as:

              circumstances beyond the control of the Department which impact the
              [Department’s] ability to comply with the timeframes set forth in Paragraph

                                                  3
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 4 of 29




              2. This could mean an unanticipated spike in referrals, a substantial and
              material decrease in the Hospital’s budget, or another sentinel event
              impacting clinical decisions system wide. These examples are provided for
              illustration only. [DSC] is a flexible concept, due to the unique and often
              unforeseen nature of these events.

        11.   The 2012 Agreement states that:

              if [DSC] is invoked and then agreed upon by the parties, the timeframe
              requirements of Paragraph 2 shall be suspended as to all Pretrial Detainees
              affected by the invoked [DSC] for a period of six months from the date of the
              Department’s invocation.

        12.   The 2012 Agreement states that:

              if the timeframe requirements of Paragraph 2 of [the 2012 Agreement] are
              temporarily suspended pursuant to the provisions of Paragraph 6(c), the
              duration of [the 2012 Agreement] shall be extended for a period equal to the
              length of time of the suspension of the timeframe requirements…[and] then
              the Department will receive only a reduction in the duration for the
              number of months it was in compliance for the year.

        13.   The 2012 Agreement states that “upon the first anniversary of the full execution of

 [the 2012 Agreement] and if the Department has fully complied with the terms of [the 2012

 Agreement],” the duration of the 2012 Agreement would be reduced by one year.

        14.   Both parties certified that they fully and carefully reviewed the 2012 Agreement

 and consulted with their respective attorneys regarding the legal effect and meaning of the 2012

 Agreement and all terms and conditions thereof.

        15.   The 2012 agreement was incorporated by reference in the Court’s Order of Dismissal

 on April 9, 2012 under Fed. R. Civ. P. 41(a)(2). [#52].

        16.   In August 2015, the Department invoked DSC.

        17.   In October 2015, the Plaintiff moved to reopen the matter for enforcement of the

 2012 agreement, in part because it disputed DSC.    [#53].

        18.   After two days of mediation, engaging in subsequent settlement negotiations, and



                                                 4
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 5 of 29




 exchanging multiple drafts, the parties entered into an Amended and Restated Settlement

 Agreement (“Settlement Agreement” or “2016 Agreement”) [#78-1] resolving the case.

        19.     The Settlement Agreement is the product of over three months and hundreds of hours

 of work by both parties. The current 2016 Settlement Agreement was filed with the Court on July

 28, 2016. [#78-1; #105-17].

        20.     This Court retained jurisdiction to enforce the Settlement Agreement. [#78 at ¶¶ 3,

 4; #105-16].     Under the 2016 Settlement Agreement, the Department is required to offer

 admission to pretrial detainees to the hospital for restorative treatment or inpatient competency

 evaluations no later than 28 days after the pretrial detainee is ready for admission.   [#105-16 at

 ¶ 2(a)]. The Department also must maintain a monthly average of 24 days or less for both types

 of offers of admission. See id.

        21.     The 2016 Agreement includes a provision called Special Circumstances, which

 recognizes that “to some extent the Department’s ability to perform its statutory obligations and

 its obligations under [the Agreement] are based on factors beyond its control.”

        22.     The 2016 Agreement defines DSC as:

                circumstances beyond the control of the Department which impact the
                Department’s ability to comply with the timeframes set forth in Paragraph 2.
                This could mean an unanticipated spike in referrals, a national or statewide
                disaster impacting admissions decisions system wide. These examples are
                provided for illustration only. [DSC] is a flexible concept, due to the unique
                and often unforeseen nature of these events.

        23.     The 2016 Agreement states that:

                upon the invocation of [DSC], the timeframe requirements of Paragraph 2
                shall be automatically suspended for six months, unless the Department
                notifies [Disability Law Colorado] that a shorter period of time is sufficient
                to resolve [DSC], commencing with the month in which the Notice of [DSC]
                is transmitted to [Disability Law Colorado].

        24.     The 2016 Agreement states that:

                                                   5
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 6 of 29




                if the timeframe requirements of Paragraph 2 of [the Agreement] are
                temporarily suspended pursuant to the provisions of Paragraph 6(c), the
                duration of [the Agreement] shall be extended for a period equal to the length
                of time of the suspension of the timeframe requirements.

         25.    This language reflects a modification from the 2012 Agreement. Id.

         26.    The 2016 Agreement states that:

                the term of the Agreement shall be reduced by three months for each of the
                number of months of certified timeliness compliance for the prior calendar
                year…[and] the term of the Agreement shall be increased by three months
                for each month during the prior calendar year that the Department was not in
                full compliance with the timeliness requirements of [the Agreement].

         27.    Both parties certified that they fully and carefully reviewed the 2016 Agreement

 and consulted with their respective attorneys regarding the legal effect and meaning of the 2016

 Agreement and all terms and conditions thereof.

         28.    The 2016 Settlement Agreement states that

                [t]he Hospital may invoke Individual Special Circumstances more than once
                for the same Pretrial Detainee, but it must follow the notification and
                conferral procedures in Paragraph 6(b) each time it seeks to invoke Individual
                Special Circumstances.

 [#105-15 at ¶ 6(b)(ii)]. The Settlement Agreement does not contain a similar provision for DSC.

 [Id. at ¶ 6(c)].

         29.    In June 2017, the Department invoked DSC based on “an unanticipated spike in

 court-ordered referrals for inpatient competency evaluation and restoration treatment services.”

 [#105-2 at 1].

         30.    In December 2017, the Department invoked DSC. [#105-3]. That DSC notice was

 based on the fact that “the sustained increase in the number of court orders for inpatient

 competency restoration treatment had outpaced the Department’s capacity and was beyond its

 control.” See [id. at 1–2].


                                                   6
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 7 of 29




        31.   The December 2017 DSC invocation, the validity of which Plaintiff disputes,

 would have expired on June 22, 2018. Id.

        32.   The Department’s invocation of DSC in both June 2017 and December 2017

 complied with the 2016 Agreement’s notice requirements.

        33.   In June 2018, the Department did not invoke DSC.

        34.   The Department has not complied with the Settlement Agreement timeframes

 concerning inpatient restoration treatment since June 2017.

        35.   The Department has complied with the Settlement Agreement timeframes

 concerning outpatient competency evaluations since July 2015.

        36.   The Department has complied with the Settlement Agreement timeframes

 concerning inpatient competency evaluations since May 2018.

        37.   The June 2018 “Best Referrals Per Month” report [#105-8] accurately states the

 number of orders for competency evaluation and restoration treatment services received by the

 Department from January 2017 through July 2018.

        38.   Chart 1 details the timelines since June 2017 for restorative treatment at CMHIP or a

 second facility in Arapahoe County, known as RISE, as calculated by the Department.

                                               Chart 1
                                     Number of
                                      Pretrial
                                    Detainees on        Average       Longest Wait
                  Month
                                     Report A          Wait Time         Time
                                    Waiting 28+
                                       Days
                 June 2017                3               23.5               29
                 July 2017               33               27.2               45
               August 2017               73               39.5               56
              September 2017             90               46.7               68
               October 2017             114               59.4               88
              November 2017             133               67.2               87
              December 2017             147               66.4              129

                                                   7
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 8 of 29




               January 2018               165             69.8             129
               February 2018              175             72.6             114
                March 2018                203             93.6             133
                 April 2018               195             82.4             136
                 May 2018                 200             91.7             144
                 June 2018                189             94.6             144
                 July 2018                175             81.7             149
                August 2018               170             81.1             149
 [#105-9]. In each month from July 2017 through present, Defendants have failed to maintain a

 24-day monthly average for inpatient restorative treatment.

        39.    Chart 2 details the timelines since June 2017 for inpatient competency evaluations

 at CMHIP or a second facility in Arapahoe County, known as RISE, as calculated by the

 Department.

                                                Chart 2
                             Number of Pretrial                                             Total
                               Detainees on                                      Longest   Number
                             Report B Waiting                                     Wait        of
              Month             28+ Days              Average Wait Time           Time     Referrals
          June 2017                   0                          17.2               27        51
          July 2017                  17                          26.7               44        45
         August 2017                 24                          34.6               51        53
       September 2017                29                          32.4               62        63
        October 2017                 39                          51.7               77        68
       November 2017                 40                          59.8               80        72
       December 2017                 28                          60.6               86        50
        January 2018                 28                          60.3               95        51
        February 2018                27                          68.5              111        46
         March 2018                  13                          16.5               77        54
          April 2018                  0                           6.8               13        12
          May 2018                    1                          11.2               49        22
          June 2018                   0                          14.4               22        10
          July 2018                   0                           9.4               22        17
         August 2018                  0                          14.4               18        24
 [#105-10].




                                                  8
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 9 of 29




        40.   Chart 3 details the timelines since June 2017 for outpatient competency evaluations

 conducted by CMHIP, as calculated by the Department.

                                              Chart 3
                           Number of Pretrial                                   Longest     Total
                          Detainees on Report C                                  Wait     Number of
          Month             Waiting 30+ Days         Average Wait Time           Time     Referrals
         June 2017                   0                       15.4                 28         149
         July 2017                   0                       20.6                 30         137
        August 2017                  0                       20.6                 30         145
      September 2017                 0                       20.0                 30         150
       October 2017                  0                       20.7                 29         156
      November 2017                  0                       19.3                 27         152
      December 2017                  0                       20.6                 29         155
       January 2018                  0                       20.3                 29         155
       February 2018                 0                       20.9                 29         149
        March 2018                   0                       21.3                 29         151
         April 2018                  0                       20.8                 29         142
         May 2018                    0                       22.9                 29         134
         June 2018                   0                       21.8                 29         144
         July 2018                   0                       20.3                 29         145
        August 2018                  0                       20.9                 30         169
 [#105-11].

        41.   Chart 4 contains the monthly totals of new evaluations and restorations, as

 calculated by the Department.

                                              Chart 4
                Fiscal Year        In Patient Competency       In Patient Restorations
                                   Evaluations
                June 2016                       25                         45
                July 2016                       21                         47
                August 2016                     32                         46
                September 2016                  25                         53
                October 2016                    28                         43
                November 2016                   23                         72
                December 2016                   24                         48
                January 2017                    27                         58
                February 2017                   28                         58
                March 2017                      27                         54
                April 2017                      29                         74
                                                9
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 10 of 29




                 May 2017                        26                            84
                 June 2017                       37                            73
                 July 2017                       23                            64
                 August 2017                     31                            77
                 September 2017                  31                            67
                 October 2017                    28                            66
                 November 2017                   19                            76
                 December 2017                   14                            69
                 January 2018                    20                            77
                 February 2018                   18                            79
                 March 2018                      30                            66
                 April 2018                      10                            64
                 May 2018                        22                            74
                 June 2018                       11                            76
                 July 2018                       15                            67
                 August 2018                     22                            90
  [#105-8; #105-12].

         42.   Chart 5 shows the number of referrals for in-patient evaluation and restoration for

  each fiscal year from 2005 through 2017 and the percentage of change on an annual basis.

                                               Chart 5
       Fiscal Year        In Patient         % Change           In Patient          % Change
                          Competency                            Restorations
                          Evaluations
       2005-06            115                -                  167                 -
       2006-07            144                25.2%              224                 34.1%
       2007-08            184                27.8%              219                 -2.2%
       2008-09            238                29.3%              170                 -22.4%
       2009-10            275                15.5%              212                 24.7%
       2010-11            276                0.4%               213                 0.5%
       2011-12            287                3.9%               269                 26.3%
       2012-13            355                23.7%              274                 1.9%
       2013-14            378                6.4%               342                 24.8%
       2014-15            415                9.7%               462                 35.1%
       2015-16            326                -21.4%             550                 19.0%
       2016-17            327                0.3%               711                 29.3%
       2017-18            257                -21.41%            849                 19.41%
  [#105-13].

         43.   From July 2017 to July 2018, Defendants received 15 orders to show cause related to

  competency and restoration services at CMHIP and 44 orders for immediate placement at CMHIP.

                                                 10
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 11 of 29




  [#105-5 (CORA Response)].

         44.   In July 2018, Judge Jones of the Denver District Court issued an order requiring

  the Department to admit a pretrial detainee who had been in jail waiting for restorative treatment

  for months. [#105-6 (Judge Jones order)].

         45.   In another case, Judge Brody of the Denver District Court issued an order to show

  cause and contempt citation against Defendants. [#105-7 (Judge Brody order)]. Judge Brody

  vacated the show cause order and contempt citation against Defendants on August 24, 2018.

         46.   [#105-4] is comprised of true and correct copies of 15 letters which the Department

  sent to state district court judges in April 2018 requesting that the judge convert the order for the

  defendant referenced in the letter to receive inpatient restoration to an order for outpatient

  restoration services.

                                         LEGAL STANDARD

         Pursuant to Rule 56, the court may grant summary judgment “if the movant shows that

  there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

  matter of law.” Fed. R. Civ. P. 56(a). “A dispute is genuine if there is sufficient evidence so that

  a rational trier of fact could resolve the issue either way. A fact is material if under the substantive

  law it is essential to the proper disposition of the claim.” Crowe v. ADT Sec. Servs., Inc., 649 F.3d

  1189, 1194 (10th Cir. 2011) (internal citations and quotation marks omitted). It is the movant’s

  burden to demonstrate that no genuine dispute of material fact exists for trial, whereas the

  nonmovant must set forth specific facts establishing a genuine issue for trial. See Nahno-Lopez v.

  Houser, 625 F.3d 1279, 1283 (10th Cir. 2010). And though the court will “view the factual record

  and draw all reasonable inferences therefrom most favorably to the nonmovant[,]” Zia Shadows,

  L.L.C. v. City of Las Cruces, 829 F.3d 1232, 1236 (10th Cir. 2016), the nonmovant must point to



                                                    11
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 12 of 29




  competent summary judgment evidence, see Bones v. Honeywell Int'l, Inc., 366 F.3d 869, 875

  (10th Cir. 2004), and may not rely on “mere reargument of his case or a denial of an opponent’s

  allegation[,]” see 10B Charles Alan Wright, et al., Federal Practice and Procedure § 2738 at 356

  (3d ed. 1998).

         And when, as here, the parties file cross-motions for summary judgment, the court

  considers each separately—the denial of one does not require the grant of another. Buell Cabinet

  v. Sudduth, 608 F.2d 431, 433 (10th Cir. 1979). Rather, the court may enter summary judgment

  only if the moving party carries its burden of demonstrating that no genuine issue of material fact

  exists and that it is entitled to judgment as a matter of law. See Reed v. Bennett, 312 F.3d 1190,

  1194–95 (10th Cir. 2002).

                                             ANALYSIS

         As currently postured by the Motions for Summary Judgment, the Parties stipulated to four

  issues for the court’s consideration:

         1. Whether the Settlement Agreement between the parties grants Defendants the right to
            invoke “Departmental Special Circumstances” consecutively, without limitations;

         2. Whether Defendants breached the Settlement Agreement or whether the Defendants
            were in non-compliance with the Settlement Agreement timeframes, when they
            re-invoked “Departmental Special Circumstances” in December 2017, claiming it can
            consecutively invoke Departmental Special Circumstances;

         3. Whether Defendants breached the Settlement Agreement or whether the Defendants
            were in non-compliance with the Settlement Agreement timeframes, on June 21, 2018
            when they did not invoke “Department Special Circumstances”; and

         4. If the Court finds Defendants either breached the Settlement Agreement or were in non-
            compliance with the Settlement Agreement timeframes, the remedies that the Court
            should impose.

  See [#88 at 2]. These issues present contract interpretation and breach of contract questions,

  requiring the court to apply state contract law in addressing the “construction of a purported



                                                  12
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 13 of 29




  settlement agreement[.]” Walters v. Wal-Mart Stores, Inc., 703 F.3d 1167, 1172 (10th Cir. 2013)

  (brackets and internal quotation marks omitted).

         In Colorado, to recover for an alleged breach of contract a plaintiff must prove: (1) the

  existence of a contract; (2) the plaintiff’s performance of its contractual obligations or its

  justification(s) for non-performance; (3) the defendant’s failure to perform; and (4) the plaintiff’s

  damages. See Xtreme Coil Drilling Corp. v. Encana Oil & Gas (USA), Inc., 958 F. Supp. 2d 1238,

  1243 (D. Colo. 2013) (citing W. Distrib. Co. v. Diodosio, 841 P.2d 1053, 1058 (Colo. 1992)). For

  purposes of issues 1 and 2, “[t]he interpretation of a contract under Colorado law is a legal

  question.” Grant v. Pharmacia & Upjohn Co., 314 F.3d 488, 491 (10th Cir. 2002) (citing

  Fibreglas Fabricators, Inc. v. Kylberg, 799 P.2d 371, 374 (Colo. 1990)) (further citation omitted).

  It is therefore appropriate at summary judgment for the court to interpret the terms of the 2016

  Settlement Agreement. See Nat’l Union Fire Ins. Co. of Pittsburgh, PA v. Fed. Ins. Co., 213 F.

  Supp. 3d 1333, 1340 (D. Colo. 2016) (applying Colorado law). But “[o]nce the terms of the

  agreement have been identified, the fact finder must determine whether the party accused of

  breaching has performed its obligations under the contract. Whether a party has performed its

  obligations under a contract or breached is a question of fact.” Lake Durango Water Co. v. Pub.

  Utilities Comm’n of State of Colorado, 67 P.3d 12, 21 (Colo. 2003) (emphasis added).

         With this framework in mind, the court turns to the issues presented by the Parties.

  I.     Departmental Special Circumstances

         Per the 2016 Settlement Agreement, Defendants agreed to certain timeframes for

  admissions for restorative treatment and the performance of competency evaluations. See [#78-1

  at ¶ 2]. These timeframes include admission “no later than 28 days after the Pretrial Detainee is

  Ready for Admission, [i.e., when CMHIP receives the court order for admission and collateral



                                                   13
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 14 of 29




  materials],” and a monthly average of “24 days or less for both types of Offers of Admission.” [Id.

  at ¶ 2(a)]. There is no dispute between the Parties, or before this court, that Defendants have not

  complied with the timeframes concerning inpatient restoration treatment since June 2017, though

  complying with the timeframes concerning outpatient competency evaluations since July 2015,

  see [#104 at ¶¶ 34–35], and have only come into compliance with the timeframes concerning

  inpatient competency evaluations beginning in May 2018, see [id. at ¶ 36]. But the parties

  recognized that factors beyond Defendants’ control might interfere with their ability to meet these

  required timeframes, so the 2016 Settlement Agreement provides for two categories of special

  circumstances that temporarily suspend the required timeframes. See [#78-1 at ¶ 6].

          Relevant here, DSC

          Means circumstances beyond the control of the Department which impact the
          Department’s ability to comply with the timeframes set forth in Paragraph 2. This
          could mean an unanticipated spike in referrals, a national or statewide disaster
          impacting admissions decisions system wide. These examples are provided for
          illustration only. [DSC] is a flexible concept, due to the unique and often unforeseen
          nature of these events.

  [#78-1 at ¶ 6(a)(ii)]. When invoking DSC, the Department

          shall notify DLC. . ., and . . . the Department shall provide a detailed explanation
          of the basis for invoking [DSC], a plan to remedy the [DSC], and the projected
          timeframe for resolution. The period of [DSC] shall commence on the date that the
          Notice . . . is transmitted to DLC. Upon invocation of [DSC], the timeframe
          requirements of Paragraph 2 shall be automatically suspended for six months,
          unless the Department notifies DLC that a shorter time period is sufficient . . .,
          commencing with the month in which the Notice . . . is transmitted to DLC. . . . If
          DLC decides to challenge the invocation of [DSC], it may do so by filing a motion
          to reopen the Action to seek enforcement of this Agreement. . . .

  [Id. at ¶ 6(c)].

          A.         Consecutive Invocations

          To answer the first issue presented by the Parties, the court “‘must examine [the 2016

  Settlement Agreement’s] terms and attempt to determine the intent of the parties.’” Level 3

                                                   14
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 15 of 29




  Commc’ns, LLC v. Liebert Corp., 535 F.3d 1146, 1154 (10th Cir. 2008) (quoting East Ridge of

  Fort Collins, LLC v. Larimer & Weld Irrigation Co., 109 P.3d 969, 973 (Colo. 2005)). In

  deciphering the parties’ intent, “the instrument’s language must be examined and construed in

  harmony with the plain and generally accepted meaning of the words used.” Leprino Foods Co.

  v. Factory Mut. Ins. Co., 653 F.3d 1121, 1127 (10th Cir. 2011) (internal quotation marks omitted)

  (applying Colorado law). “When a contractual term unambiguously resolves the parties’ dispute,

  the interpreting court’s task is over” because the court is to enforce a written contract pursuant to

  its clear terms. See Stroh Ranch Dev., LLC v. Cherry Creek S. Metro. Dist. No. 2, 935 F. Supp. 2d

  1052, 1060 (D. Colo. 2013) (quotation marks omitted) (applying Colorado law). If, however, the

  contractual terms are ambiguous, i.e., susceptible to more than one reasonable interpretation, the

  court may consider extraneous evidence to determine the parties’ intent; but the mere difference

  of opinion regarding the interpretation of a term does not itself create an ambiguity. See Running

  Foxes Petroleum, Inc. v. Nighthawk Prod. LLC, 175 F. Supp. 3d 1279, 1279, 1287 (D. Colo. 2016)

  (citing Ad Two, Inc. v. City & Cty. of Denver, 9 P.3d 373, 376–77 (Colo. 2000)).

         All agree that the language of Paragraph 6(a)(ii) is clear: upon proper Notice, the

  Department may invoke DSC, thereby suspending the required timeframes of Paragraph 2(a) for

  up to 6 months beginning with the month in which the Department transmits Notice. Equally as

  clear is the absence of any language within the provisions themselves qualifying the Department’s

  ability to invoke DSC. The Parties offer opposing interpretations of what this silence means.

  Plaintiff contends that this silence prohibits Defendants from invoking DSC “consecutively,

  without limitations” (though clarifying at the Motions Hearing that Defendant could invoke DSC

  more than once, non-consecutively after coming into compliance with the Agreement following a

  prior invocation of DSC) because doing so would foster infinite suspensions of the relevant



                                                   15
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 16 of 29




  timeframes, rendering the 2016 Settlement Agreement a “dead letter.” Defendants counter that

  because the plain language of the 2016 Settlement Agreement does not prohibit consecutive

  invocations of DSC, the court should not and cannot supply a term neither party bargained for.

  Despite the court’s concern that consecutive invocations of DSC could simply result in infinite

  extensions, I respectfully agree with Defendants.

         As mentioned, “[t]o determine the meaning of a contract, courts are guided by the general

  rules of contract construction and should seek to give effect to all provisions so that none will be

  rendered meaningless.” Chandler-McPhail v. Duffey, 194 P.3d 434, 437 (Colo. App. 2008). That

  is, “the meaning of a contract is found by examination of the entire instrument and not by viewing

  clauses or phrases in isolation” so as to harmonize all provisions. Fed. Deposit Ins. Corp. v. Fisher,

  292 P.3d 934, 937 (Colo. 2013) (brackets and internal quotation marks omitted). But courts

  “should neither rewrite the agreement nor limit its effect by a strained construction” when its terms

  are clear, SOLIDFX, LLC v. Jeppesen Sanderson, Inc., 841 F.3d 827, 833 (10th Cir. 2016) (internal

  quotation marks omitted) (applying Colorado law), because “it is not the business of the courts to

  draft a better contract for the parties than they did for themselves[,]” id. at 836. Indeed, contracts

  between “competent parties, voluntarily and fairly made, should be enforceable according to the

  terms to which they freely commit themselves[,]” including “mutually bargained-for duties and

  risks.” Ravenstar, LLC v. One Ski Hill Place, LLC, 401 P.3d 552, 555 (Colo. 2017) (internal

  quotation marks omitted).

         Plaintiff offers several reasons as to why the 2016 Settlement Agreement limits the

  Department’s ability to invoke DSC consecutively. First, consecutive invocation of DSC would

  render meaningless the timeframes prescribed by Paragraph 2 because the Department could

  “serially re-invoke DSC every six months in perpetuity and never come back into compliance.”



                                                   16
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 17 of 29




  [#96 at 7]; see also [#101 at 9–10]. Second, and relatedly, consecutive invocation of DSC “would

  eliminate the three-month extension provision” contained in Paragraph 4(b) that extends the term

  of the 2016 Settlement Agreement three months for every one month of noncompliance in the prior

  calendar year. See [#96 at 7; #101 at 10]. While these are troubling possibilities that the court

  noted at the Motions Hearing, the 2016 Settlement Agreement provides mechanisms to protect the

  timeframes in Paragraph 2 and the extensions to the 2016 Settlement Agreement’s lifespan in

  Paragraph 4(b). Most notably, the 2016 Settlement Agreement unequivocally provides Plaintiff

  the right “to challenge the invocation of [DSC] . . . by filing a motion to reopen the Action to seek

  enforcement of this Agreement.” [#78-1 at ¶ 6(c)]. This is exactly what Plaintiff did here. And

  while Defendants dispute whether the stipulated issues between the Parties encompass this point,

  Plaintiff indeed challenges whether unanticipated spikes in referrals is a sufficient basis for

  invoking DSC.

         Third, Plaintiff argues that consecutive invocation of DSC would be at odds with the

  provision concerning Individual Special Circumstances that “expressly permit[s] successive

  invocations of Individual Special Circumstances”; because DSC omits this same language,

  Plaintiff argues that the court cannot reasonably interpret DSC to allow for consecutive invocation.

  [#96 at 7–8; #101 at 9–10]. While it is correct that the court must not read provisions in isolation

  and must harmonize all provisions, I find that these two provisions cover distinct performance

  obligations, defined by discrete circumstances—one directed at the macro-level consideration of

  the Department and the other directed at the micro-level consideration of an individual. [#102 at

  8]. That is, accepting Plaintiff’s interpretation would insert a qualification on DSC that the 2016

  Settlement Agreement does not expressly provide. See Magnetic Copy Servs., Inc. v. Seismic

  Specialists, Inc., 805 P.2d 1161, 1164 (Colo. App. 1990) (“The contract does not state that



                                                   17
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 18 of 29




  [defendant]’s performance was conditioned upon any set of circumstances. Furthermore, the

  contract does not state or imply that providing 3,000 tapes within a year is merely a goal or

  objective. Hence, we will not read the contract as so stating.”). Had Plaintiff sought to further

  restrict the manner by which the Department could invoke DSC it “could have and should have

  done so expressly.” Feerer v. Amoco Prod. Co., 242 F.3d 1259, 1264 (10th Cir. 2001) (holding

  under New Mexico law that nothing in the settlement agreement supported the defendants’ position

  on reallocating costs to the plaintiffs where no such provision allowed for this and this did not

  appear to be the parties’ intent).1

          Moreover, Plaintiff’s argument runs counter to its clarification at the Motions Hearing that

  Defendants could invoke DSC more than once during the lifespan of the 2016 Settlement

  Agreement but only after coming into compliance with Paragraph 2 following a prior invocation

  of DSC. But this interpretation of DSC does not necessarily follow from the plain language of

  Individual Special Circumstances that allows the Department to invoke “more than once for the

  same Pretrial Detainee”, see [#78-1 at ¶ 6(b)(ii)], which Plaintiff interprets as allowing consecutive

  invocation. Indeed, if the Parties’ intent was to allow for multiple invocations of both Individual

  Special Circumstances and DSC, then the absence of the same language in the DSC provision has

  no effect on that understanding. And the absence of explicit language limiting the invocation of

  DSC counsels against an interpretation that limits the Department’s ability in this regard based on

  Plaintiff’s interpretation of Individual Special Circumstances.



  1
    In the realm of statutory interpretation, it is axiomatic that “[w]here Congress includes particular
  language in one section of a statute but omits it in another section of the same Act, it is generally
  presumed that Congress acts intentionally and purposely in the disparate inclusion or exclusion.”
  Elwell v. Oklahoma ex rel. Bd. of Regents of Univ. of Oklahoma, 693 F.3d 1303, 1309 (10th Cir.
  2012). But it is far from clear that the same is true of contractual interpretation, especially where,
  as here, the omission of certain language would qualify conduct that the 2016 Settlement
  Agreement does not explicitly restrict. See Magnetic Copy Servs., Inc., 805 P.2d at 1164.
                                                   18
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 19 of 29




         Finally, Plaintiff argues that at the least, permitting consecutive invocation of DSC would

  breach Defendants’ duty of good faith and fair dealing. [#96 at 8; #101 at 10]. “Every contract

  imposes upon each party a duty of good faith and fair dealing in its performance and its

  enforcement.” See RESTATEMENT (SECOND) OF CONTRACTS § 205. In Colorado, this

  duty exists “to effectuate the intentions of the parties or to honor their reasonable expectations[,]”

  and may be invoked “when the manner of performance under a specific contract term allows for

  discretion on the part of either party[,]” i.e., one party has the power to set or control the terms of

  performance after formation. See City of Golden v. Parker, 138 P.3d 285, 292 (Colo. 2006)

  (internal citations and quotation marks omitted). The 2016 Settlement Agreement, specifically

  Paragraph 2, does not provide discretion to Defendants as to their performance obligations; nor

  does it appear that Defendants could dictate their performance obligations after formation. Further,

  the duty of good faith and fair dealing, if raised as to the Department’s ability to invoke DSC,

  cannot “contradict terms or conditions for which a party has bargained.” Amoco Oil Co. v. Ervin,

  908 P.2d 493, 498 (Colo. 1995). As discussed above, Plaintiff’s interpretation of Paragraphs

  6(a)(ii) and 6(c) as limiting the Department’s ability to invoke DSC consecutively interjects a new

  substantive term into the 2016 Settlement Agreement that would “vary or contradict the contract’s

  express provisions.” United States for use & benefit of Fisher Sand & Gravel Co. v. Kirkland

  Constr., LLP, 76 F. Supp. 3d 1199, 1215 (D. Colo. 2014) (applying Colorado law). Thus, to the

  extent that Plaintiff contends that the second, consecutive invocation of DSC breached the implied

  covenant of good faith and fair dealing [#96 at 8], this court respectfully disagrees.

         To conclude, Plaintiff asks this court to read into the 2016 Settlement Agreement a

  restriction on the Department’s ability to invoke DSC consecutively—a restriction the Agreement

  does not express.     Because I find the terms of the 2016 Settlement Agreement clear and



                                                    19
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 20 of 29




  unambiguous, I conclude that a reasonable interpretation of Paragraphs 6(a)(ii) and 6(c) permits

  Defendants to invoke DSC consecutively. This conclusion, however, does not completely resolve

  the matter before the court. Indeed, even the Parties framed the first issue as “[w]hether the

  Settlement Agreement between the parties grants Defendants the right to invoke ‘Departmental

  Special Circumstances’ consecutively, without limitations.” Based on the arguments in the papers,

  the Parties appear to approach the qualifier of “without limitations” as a numeric one. But far

  more salient to this court is that the issue clearly underlying the original action, the 2016 Settlement

  Agreement, and this action is a non-numeric one.              This court has already concluded that

  Defendants can invoke DSC consecutively, but it does not conclude that Defendants’ ability to

  invoke DSC consecutively is without limitations. The 2016 Settlement Agreement expressly limits

  the invocation of DSC to “circumstances beyond the control of the Department which impact the

  Department’s ability to comply with the timeframes set forth in Paragraph 2.” [#78-1 at ¶ 6(a)(ii)].

          B.      Limitations on the Invocation of DSC

          As posed, the second issue presented to the court is:

          Whether Defendants breached the Settlement Agreement or whether the
          Defendants were in non-compliance with the Settlement Agreement timeframes,
          when they re-invoked “Departmental Special Circumstances” in December 2017,
          claiming it can consecutively invoke Departmental Special Circumstances.

  It is clear to this court that the central issue of dispute, and the question that is far harder to answer,

  is whether Defendants rightfully invoked DSC in June 2017 and then extended it in December

  2017 even if the Agreement allowed Defendants to invoke DSC consecutively. Put another way,

  were there “circumstances beyond the control of the Department which impact the Department’s

  ability to comply with the timeframes set forth in [the Settlement Agreement]?” See [#78-1 at

  ¶ 6(a)(ii)]. At oral argument, counsel for Defendants argued that this substantive issue was not

  before the court, as the only basis for breach argued by Plaintiff was the consecutive invocation of


                                                      20
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 21 of 29




  DSC. But in Plaintiff’s Motion for Summary Judgment it clearly argues that the invocations of

  DSC “did not satisfy the basic DSC requirements.” [#96 at 9]. And Defendants argued, in

  Response, that their invocations of DSC were proper, because they were substantively “outside the

  control of the Department.” [#102 at 12–15]. And upon Reply, Plaintiff continues to challenge

  whether the DSC invocation was justified under the standard set forth in the 2016 Settlement

  Agreement. [#101 at 10–11]. Even if the Parties did not expressly articulate this issue as one of

  the four presented to the court for resolution, all Parties clearly had notice and argued the issue.

  Furthermore, Rule 56(f) of the Federal Rules of Civil Procedure contemplates that a court may

  render a determination as to summary judgment independent of the Parties’ motions. Fed. R. Civ.

  P. 56(f). And the 2016 Settlement Agreement clearly contemplates that Plaintiff may substantively

  challenge the invocation of DSC. [#78-1 at ¶ 6(c)].

          But the issue of whether the Department properly invoked DSC, first in June 2017 and then

  again in December 2017, is not undisputed. Rather, it is rife with disputes of material fact, and no

  discovery on these issues has occurred.        Plaintiff contends that the basis of Defendants’

  invocation—the lack of capacity caused by an increase in referrals—“is wholly within the

  Department’s control.” [#96 at 9]. And it insists that “the Department’s failure to maintain

  adequate facilities to keep up with the pace of referrals is a problem that has plagued timely

  admission of pretrial detainees to CMHIP for decades.” [Id.]. Indeed, Plaintiff suggests that the

  demand for the Department’s mental health evaluations, including both the inpatient restorations

  and evaluations, shows that monthly totals have dropped, rather than increased, in the time period

  at issue. [Id. at 10].

          For their part, Defendants argue that the invocation of DSC complies with the terms of the

  2016 Settlement Agreement.       [#102 at 11–13]. They insist that an unanticipated spike in



                                                  21
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 22 of 29




  court-ordered referrals for inpatient competency and restoration treatment services caused it to

  invoke DSC, and that those spikes in demand are out of its control. [Id.]. But Defendants never

  explain, and rather simply assume, that the increase in court-ordered restoration services and

  evaluations necessarily renders the Department unable to comply with the timeframes set forth in

  the 2016 Settlement Agreement. [#102 at 14–15]. And contrary to Defendants’ contention that

  DLC “does not dispute whether the Department had the resources to manage the elevated volume

  of orders when it invoked DSC in December 2017,” [id. at 14], DLC does appear to dispute that

  very conclusion in addition to challenging whether the Department has adequately planned for

  such foreseeable increases. [#101 at 11]. This material dispute of fact precludes summary

  judgment in any party’s favor as to whether Defendants have breached the 2016 Settlement

  Agreement by their invocations of DSC in June and December 2017.2

         C.      Failure to Invoke DSC

         The third issue raised by the Parties is whether Defendants are in breach of the Settlement

  Agreement as of June 22, 2018, when the Department continued its noncompliance with the




  2
    The court is keenly aware that the separation of powers doctrine counsels against a court’s review
  of an executive agency’s exercise of powers properly within its own sphere. See, e.g., Kort v.
  Hufnagel, 729 P.2d 370 (Colo. 1986) (en banc). And the court is generally wary of passing over
  the manner by which an agency allocates it limited resources, seeks funding from the Legislature,
  and explores alternatives to address budgetary shortfalls. Here, however, that review appears
  intertwined with the contractual provisions that require the Department to invoke DSC based only
  on “circumstances beyond the control of the Department which impact the Department’s ability to
  comply with the timeframes.” To determine whether a circumstance is “beyond the control of the
  Department which impacts its ability to comply with the timeframe,” the court cannot look only at
  whether the triggering event is beyond the control of the Department, but must consider the totality
  of the circumstances, including the Department’s actions or inactions to address trends in demand
  for mental health evaluations and restoration services. For instance, the court would not consider
  a spike in the number of court-ordered services as a circumstance “outside the control of the
  Department which impacts the Department’s ability to comply with the timeframes,” if the facts
  demonstrate the Department was aware of the increasing trend in demand for mental health
  evaluations and restoration services but failed to take reasonable steps to address the rising needs.
                                                   22
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 23 of 29




  timeframes contemplated by the 2016 Settlement Agreement but did not invoke DSC. Plaintiff

  argues that the Department may not simply choose not to comply with the timeframes of the 2016

  Settlement Agreement without cause. [#101 at 11]. Defendants argue that their failure to satisfy

  the timeframes does not require the invocation of DSC, does not amount to breach, and simply

  results in the increased duration of the 2016 Settlement Agreement by three months for each month

  that the Department is not in full compliance. [#97 at 21 (citing #78-1 at ¶ 4(b))]. Plaintiff

  contends that Defendants’ interpretation of the 2016 Settlement Agreement is “absurd.” [#101 at

  11–12]. As urged by Defendants, this court’s inquiry begins and end by applying the plain

  language of the Agreement. [#97 at 21].

         In applying the general principles of contract law, this court finds that the issue of whether

  Defendants breached the 2016 Settlement Agreement is distinct from the remedies available to

  address such breach. To prevail on summary judgment as to breach, Plaintiff must demonstrate

  that there is no genuine issue of material fact that: (1) a contract exists; (2) plaintiff performed its

  contractual obligations or its non-performance was justified; (3) the defendant failed to perform;

  and (4) the plaintiff suffered damages.

         First, there is no material factual dispute that a contract exists, i.e., the 2016 Settlement

  Agreement. Second, I respectfully disagree with Defendants that DLC has not demonstrated that

  it has performed its duties under the Agreement because it “refuses to comply with those contract

  terms” that suspend the timeframe obligations when the Department invokes DSC. [#97 at 18–

  19]. There is no contractual term that DLC simply has to accept the Department’s invocation of

  DSC and thereby “comply” with the extensions of time to the overall Agreement. Indeed, as

  pointed out by Plaintiff, the 2016 Settlement Agreement specifically reserves and contemplates

  that DLC may challenge the Department’s invocation of DSC if the Parties are unable to reach a



                                                    23
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 24 of 29




  resolution as to any disagreement. [#78-1 at ¶ 6(c)]. And even without that term, the court finds

  no law, either statutory or common law, which suggests that a plaintiff’s good faith allegations of

  contractual breach somehow transforms into a failure to perform its contractual obligations that

  then obviates its ability to prove breach. Therefore, I conclude that there is no material dispute

  that DLC has performed its contractual obligation under the 2016 Settlement Agreement.

         Third, the court considers whether Defendants failed to perform under the 2016 Settlement

  Agreement as of June 2018. Defendants argue that “for the same reasons discussed above, the

  Department’s inability to meet the Agreement’s timeframes in June 2018 does not amount to

  breach.” [#97 at 21]. I respectfully disagree. As an initial matter, due to the factual disputes as

  discussed above, the court cannot conclude at this juncture that Defendants’ invocation of DSC in

  either or both June and December 2017 was proper under the 2016 Settlement Agreement. See

  supra, pp. 20–22. Therefore, the issue of breach has not been resolved in Defendants’ favor.

  Equally as significant, the 2016 Settlement Agreement does not contemplate that Defendants can

  simply ignore the timeframes to which they agreed without breaching the Agreement. The contract

  is clear that a proper invocation of DSC temporarily suspends the timeframe requirements of

  Paragraph 2 of the Agreement, thereby precluding a finding of breach based on failure to satisfy

  the timeframe requirements. [#78-1 at ¶ 4(c)]. But nothing in the Agreement suggests that the

  Department can simply decline to comply with the timeframes to which it is contractually bound

  in Paragraph 2 with the only consequence being the extension of the Agreement’s duration for

  three months. [#97 at 21]. If that were the case, there would be no need for Defendants to ever

  invoke DSC or justify the Department’s inability to comply with the timeframes to which it

  knowingly and voluntarily agreed. [#78-1 at ¶ 15].




                                                  24
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 25 of 29




         The Parties agree that the Department has complied with the timeframes concerning

  inpatient competency evaluations since May 2018. [#104 at ¶ 36]. The Parties further agree that

  the Department has complied with the timeframes concerning outpatient competency evaluations

  since July 2015. [Id. at ¶ 35]. But there is no dispute that since June 2017, Defendants have failed

  to maintain a 24-day monthly average for inpatient restorative treatment. [Id. at ¶¶ 34, 38]. And

  there is also no dispute that the Department did not invoke DSC as of June 2018. [Id. at ¶ 33].

  Finally, Defendants identify no other provision of the 2016 Settlement Agreement or other

  circumstance that excuses them from maintaining a 24-day monthly average for inpatient

  restorative treatment. Therefore, this court concludes that the undisputed facts before it establish

  that Defendants have failed to perform under the 2016 Settlement Agreement as of June 2018

  given their failure to maintain a 24-day monthly average for inpatent restorative treatment.

         Finally, the court considers whether DLC suffered damages. Defendants do not argue that

  the individuals who DLC represents have not suffered damages. Plaintiff argues that Defendants

  have “violated the constitutional rights of everyone of these detainees by their failure to timely

  admit and treat them,” [#101 at 2], and provides examples of the harms suffered by these

  individuals. Therefore, this court concludes that there is no genuine issue of material fact that

  DLC has suffered damages, and that as of June 2018, Defendants are in breach of the 2016

  Settlement Agreement.

  II.    Appropriate Remedies

         Having found breach, this court turns to the fourth issue identified by the Parties: the

  remedies that the court should impose. Defendants argue that the sole remedy for their breach of

  the timeframes for inpatient restoration is “the extension of the Agreement by three months for

  each month during the prior calendar year that the Department was not in full compliance with the



                                                  25
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 26 of 29




  timeliness requirement of this Agreement.” [#78-1 at ¶ 4(b)]. Plaintiff argues that the extension

  of the 2016 Settlement Agreement is not the exclusive remedy for Defendants’ breach of contract

  because the contract does not explicitly limit relief to this exclusive remedy. [#101 at 12]. In

  addition, Plaintiff urges this court to order immediate compliance upon pain of contempt and

  attorney’s fees and costs. [#101 at 13–15].

          A.      Specific Performance

          To the extent that Defendants argue that the only remedy available to Plaintiff is the

  extension of the 2016 Settlement Agreement under Paragraph 4(c), this court respectfully rejects

  that argument. It is clear that under Colorado law, specific performance is an equitable remedy

  for breach of contract. Wheat Ridge Urban Renewal Auth. v. Cornerstone Grp. XXII, L.L.C., 176

  P.3d 737, 740 (Colo. 2007) (citing Setchell v. Dellacroce, 169 Colo. 212, 216, 454 P.2d 804, 806

  (1969)). Here, Defendants do not raise any sovereign immunity concerns about the court’s

  authority to order specific performance of the 2016 Settlement Agreement against a state agency,

  and in fact it appears expressly waived by Defendants’ agreement that DLC may seek enforcement

  of the Agreement. [#78-1 at ¶ 6(c)]. In addition, while the extension of the contract by three

  months for each month the Department is out of compliance is a remedy, it is not the exclusive

  relief that Plaintiff may seek. The contract does not limit Plaintiff’s ability to enforce the 2016

  Settlement Agreement only as to enforcing the extension of its duration; indeed, the court declines

  to read such a limitation into the 2016 Settlement Agreement when the Parties have failed to

  expressly contract for it.

          But while the court finds that injunctive relief is appropriate to bring Defendants into

  compliance with the timeframe requirements for inpatient restoration of 28 days for any individual

  and a 24-day monthly average, it is not clear based on the record before the court that an order



                                                  26
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 27 of 29




  mandating immediate compliance is feasible or just. The court notes that it is troubled by the fact

  that the Department has not complied with the timeframes concerning inpatient restoration

  treatment for almost eighteen months. [#104 at ¶¶34–37]. But the vast majority of the time at

  issue, i.e., June 2017 to June 2018, is covered by the Department’s invocation of DSC—the

  propriety of which is vigorously contested and yet resolved. And whether the Department’s

  invocation of DSC was proper weighs heavily in the court’s consideration of what injunctive relief

  is necessary and what time Defendants would be provided to come into compliance.3

         Therefore, while the court finds Defendants in breach of the 2016 Settlement Agreement

  for their failure to meet the timeframes for inpatient restoration services after June 2018, it declines

  to enter an order for injunctive relief at this time. Instead, the court ORDERS that the Parties be

  prepared to address an expedited schedule on the issue of whether DSC was properly invoked in

  June 2017 and December 2017 at the forthcoming Status Conference with the understanding that

  this court is inclined to permit Defendants no more than six months (and perhaps far less) from the

  date of any Order disposing of the issue to come back into compliance.

         B.       Attorney’s Fees and Costs

         Plaintiff also seeks attorney’s fees and costs associated with reopening of this action and

  the enforcement of the 2016 Settlement Agreement under 42 U.S.C. §§ 1983 and 1988. [#96 at



  3
    The court nevertheless notes that the 2016 Settlement Agreement contemplates that even in the
  case of a proper invocation of DSC, Defendants are required to “provide a detailed explanation of
  the basis for invoking Departmental Special Circumstances, a plan to remedy the Departmental
  Special Circumstance, and the projected timeframe for resolution.” [#78-1 at ¶ 6(c)]. Defendants’
  Notices of Invocation of Department Special Circumstances do not identify a projected timeframe
  for resolution. [#96-2; #96-3]. And based on the record before the court, it is not clear that the
  Department has, in any substantive and meaningful way, “provided regular updates agreed upon
  by the Parties concerning the multi-facted strategies outlined” in the December 2017 Notice. [#96-
  3 at 8]. Indeed, the lack of invocation of DSC in June 2018 coupled with the lack of a timeframe
  for remediation to address the extended timeframes for inpatient restoration suggests that a
  court-imposed deadline may be necessary to break the inertia of the circumstances.
                                                    27
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 28 of 29




  15]. But these Motions do not arise arise under those civil rights statutes, because the claim at

  issue now is a state contract claim reserved to the court by its own Order retaining jurisdiction.

  [#52 at ¶ 4; #80 at ¶ 4]. The 2016 Settlement Agreement also has no separate provision that

  contemplates attorney’s fees and costs in conjunction with a motion to enforce. See generally

  [#78-1].

         Colorado applies the “American Rule,” which requires each party in a lawsuit to bear its

  own legal expenses and, “thus, in the absence of an express statute, court rule, or contractual

  provision to the contrary, attorney fees generally are not recoverable by the prevailing party in a

  contract or tort action.” First Citizens Bank & Tr. Co. v. Stewart Title Guar. Co., 320 P.3d 406,

  413 (Colo. App. 2014). A narrow exception to the American Rule allows a trial court to award

  attorney’s fees when a party’s opponent acts in bad faith, vexatiously, wantonly, or for oppressive

  reasons. See United states v. McCall, 235 F.3d 1211, 1216 (10th Cir. 2000). Here there has been

  no finding of bad faith to date to justify the award of attorney’s fees. Accordingly, I find that a

  ruling on attorney’s fees and costs is premature, and I defer ruling on any request for attorney’s

  fees and the appropriate amount of any such fees until the court completes its adjudication of the

  enforcement of the 2016 Settlement Agreement.

                                          CONCLUSION

         For the reasons set forth herein, the court hereby ORDERS that:

         (1)     Plaintiff’s Motion for Summary Judgment [#96] is GRANTED IN PART and

                 DENIED IN PART;

         (2)     Defendants’ Motion for Summary Judgment [#97] is DENIED; and

         (3)     A Status Conference is SET for November 30, 2018 at 9:00 a.m. to discuss any

                 discovery and to set an evidentiary hearing on the issue of whether the DSC was



                                                  28
Case 1:11-cv-02285-NYW Document 113 Filed 11/09/18 USDC Colorado Page 29 of 29




             properly invoked in June 2017 and December 2017, so that the court can rule upon

             a forthcoming motion to enforce and to determine the appropriate scope and terms

             of an injunction going forward to address the Department’s performance of

             inpatient restoration services.



  DATED: November 9, 2018                               BY THE COURT:



                                                        ______________________
                                                        Nina Y. Wang
                                                        United States Magistrate Judge




                                               29
